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               EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

TCF INVENTORY FINANCE, INC.                             )
                                                        )
               Plaintiff,                               )     No. 1:19-CV-05227
                                                        )
v.                                                      )     Hon. Charles R. Norgle, Sr.
                                                        )     Presiding Judge
HALL MOTOR SPORTS, INC. and                             )
ROLAND T. HALL                                          )     Hon. Sheila Finnegan
                                                        )     Magistrate Judge
               Defendants.                              )


       This matter having come before the Court pursuant to the Motion for Entry of Consent

Judgment (the “Motion”) filed by Plaintiff TCF Inventory Finance, Inc. and the Court being fully

advised in the premises, grants the following relief:

       IT IS ORDERED, ADJUDGED and DECREED that Judgment is entered in favor of

Plaintiff TCF Inventory Finance, Inc. and against Defendants Hall Motor Sports, Inc. and Roland

T. Hall, jointly and severally, in the amount of Eighty-Seven Thousand Three Dollars and

Thirty-One Cents ($87,003.31).

       Costs taxed to Defendants. All other matters before the Court in this action are hereby

resolved and this is a final judgment.




DATED:         _____________, 2019

                                                        ____________________________________
  Case: 1:19-cv-05227 Document #: 7-1 Filed: 10/01/19 Page 3 of 3 PageID #:37




The Consent Judgment is hereby agreed to and submitted by:

HALL MOTOR SPORTS, IN




Print/Title:



ROLAND T. HALL, indi



TCF INVENTORY FINANCE, INC.



By:
       One

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